                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:19-CV-707-RJC-DCK

 SHAKINA SMITH, individually and on
 behalf of all others similarly situated,

                  Plaintiff,
                                                                   STIPULATED
         v.                                                CONFIDENTIALITY AGREEMENT
                                                                       AND
 JAX LLC d/b/a GOLDEN CORRAL,                                  PROTECTIVE ORDER

                  Defendant.



        WHEREAS, the parties to this action (collectively, the “Parties” and each individually, a

“Party”) request that this Court issue a protective order for purposes of discovery pursuant to Federal

Rule of Civil Procedure 26(c) to protect the confidentiality of sensitive private and/or competitive or

other sensitive confidential information that they may need to disclose in connection with discovery

in this action;

        WHEREAS, the Parties and their counsel desire to facilitate the discovery of certain

information and documents and to reasonably limit disclosure of Confidential Discovery Material

that may be exchanged and produced now and in the future during the above-captioned litigation and

have reached agreement as to the terms of this Stipulated Confidentiality Agreement and Protective

Order (“Order”);

        WHEREAS, this Court finds that good cause exists for issuance of an appropriately tailored

confidentiality order governing the pretrial phase of this action;

        IT IS HEREBY ORDERED that any person subject to this Order—including without

limitation the Parties to this action (including their respective corporate parents, successors, and

assigns), their representatives, agents, experts, and consultants, all third parties providing discovery



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in this action, and all other interested persons with actual or constructive notice of this Order—will

adhere to the following terms:

       1.      This Order shall apply to all documents and things subject to discovery in this action

produced either by a Party or a non-party in response to or in connection with any discovery concluded

in this action, including without limitation, answers to interrogatories, documents, and things

produced (including documents and things produced for inspection), responses to written and

electronic discovery requests, and answers to requests for admission, testimony adduced at

depositions upon oral examination or upon written questions, as well as any and all copies, abstracts,

digests, notes, and summaries thereof (the “Discovery Material”) and shall continue to apply to them

during the entire pretrial phase of this litigation, including discovery, dispositive motion practice, and

pretrial motion practice.

       2.      With respect to “Discovery Material” (i.e., information of any kind produced or

disclosed in the course of discovery in this action) that a person has designated as “Confidential” or

“Confidential-AEO Material” pursuant to this Order, no person subject to this Order may disclose

such Confidential Discovery Material to anyone else except as expressly permitted hereunder.

       3.      For the purposes of this Order, “Document” shall mean any written, typed, or printed

matter of any kind, computer print-outs, sound recordings, electronic data, photographs, or any other

media for preparing, duplicating, or recording written or spoken words.

       4.      The Party or person producing or disclosing Discovery Material (each, “Producing

Party”) may designate as Confidential only the portion of such material that it reasonably and in good

faith believes consists of information deemed confidential, including but not limited to:

            (a) previously non-disclosed proprietary or confidential financial or business information

            (including without limitation profitability reports or estimates);




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            (b) previously non-disclosed proprietary or confidential material relating to ownership or

            control of any non-public company;

            (c) previously non-disclosed proprietary or confidential business plans or marketing

            plans;

            (d) any information of a personal or intimate nature regarding any individual or Party or

            any other confidential information such as confidential family or health information; or

            (e) any other category of information this Court subsequently affords confidential status.

       5.      A Producing Party or its counsel may, to the extent permitted by this Order or a Court

Order, designate deposition exhibits or portions of deposition transcripts as Confidential Discovery

Material either by: (a) indicating on the record during the deposition that a question calls for

Confidential information, in which case the reporter will bind the transcript of the designated

testimony in a separate volume and mark it as “Confidential Information Governed by Protective

Order”; or (b) notifying the reporter and all counsel of record, in writing, within 30 days after a

deposition has concluded, of the specific pages and lines of the transcript that are to be designated

“Confidential,” in which case all counsel receiving the transcript will be responsible for marking the

copies of the designated transcript in their possession or under their control as directed by the

Producing Party or that person’s counsel.       During the 30-day period following a deposition, all

Parties will treat the entire deposition transcript as if it had been designated Confidential.

       6.      With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the Producing Party or its counsel may designate as

“CONFIDENTIAL-ATTORNEYS’ EYES ONLY” such Discovery Material that Producing Party or

authorizing party deems in good faith to contain highly confidential information. This designation

shall be strictly limited to Discovery Material that Producing Party believes in good faith would not




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be sufficiently protected by being designated “Confidential Material.” Material designated pursuant

to this paragraph shall be referred to herein as “Confidential-AEO Material.”

        7.        Material produced in this litigation and designated as for Confidential-AEO Material

shall not be disclosed directly or indirectly, in whole or in part, in words or substance, except by the

prior written consent of the Producing Party or pursuant to further order of this Court, to any person

or entity other than the following:

               (a) The attorneys of record for the party to which the records are produced (the “Receiving

               Party”), the employees and associates of the Receiving Party’s attorneys of record who

               are involved in the prosecution or defense of this action, and their respective support staff

               and/or paralegals working with them on this matter;

               (b) The Court;

               (c) Any mediator appointed by the Court or engaged by the Parties;

               (d) Court reporters employed in connection with this litigation; and

               (e) Any outside experts and consultants retained by either Party.

        8.        If at any time before the termination of this action a Producing Party realizes that it

should have designated as Confidential or Confidential-AEO Material some portion(s) of Discovery

Material that it previously produced without limitation, the Producing Party may so designate such

material by notifying all Parties in writing. Thereafter, all persons subject to this Order will treat

such designated portion(s) of the Discovery Material as Confidential or as Confidential-AEO

Material. In addition, the Producing Party shall provide each other Party with replacement versions

of such Discovery Material that bears the appropriate confidential designation within seven business

days of providing such notice.

        9.        Nothing contained in this Order will be construed as: (a) a waiver by a Party or

person of its right to object to any discovery request; (b) a waiver of any privilege or protection;

(c) a ruling
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regarding the admissibility at trial of any document, testimony, or other evidence; or (d) requiring

that such evidence be kept under seal at the time of trial.

       10.       Where a Producing Party has designated Discovery Material as Confidential (but not

Confidential-AEO Material), other persons subject to this Order may disclose such information only

to the following persons:

             (a) the Parties to this action, their insurers, and counsel to their insurers;

             (b) counsel retained specifically for this action, including any paralegal, clerical, or other

             assistant that such outside counsel employs and assigns to this matter;

             (c) outside vendors or service providers (such as copy-service providers and document-

             management consultants) that counsel hire and assign to this matter;

             (d) any mediator or arbitrator that the Parties engage in this matter or that this Court

             appoints, provided such person has first executed a Non-Disclosure Agreement in the form

             annexed as Exhibit A hereto;

             (e) as to any document, its author, its addressee, and any other person indicated on the

             face of the document as having received a copy;

             (f) any witness who counsel for a Party in good faith believes may be called to testify at

             trial or deposition in this action, provided such person has first executed a Non-Disclosure

             Agreement in the form annexed as Exhibit A hereto;

             (g) any person a Party retains to serve as an expert witness or otherwise provide

             specialized advice to counsel in connection with this action, provided such person has first

             executed a Non-Disclosure Agreement in the form annexed as Exhibit A hereto;

             (h) stenographers engaged to transcribe depositions the Parties conduct in this action; and

             (i) this Court, as well as any appellate court considering this matter, and their respective

             support personnel, and court reporters.


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         11.   Before disclosing any Confidential Discovery Material to any person referred to in

subparagraphs 10(d), 10(f), or 10(g) above, counsel must provide a copy of this Order to such person,

who must sign a Non-Disclosure Agreement in the form annexed as Exhibit A hereto stating that he

or she has read this Order and agrees to be bound by its terms. Said counsel must retain each signed

Non-Disclosure Agreement, hold it in escrow, and produce it to opposing counsel either before such

person is permitted to testify (at deposition or trial) or at the conclusion of the case, whichever comes

first.

         12.   The provisions of this Order regarding “Confidential-AEO Material” shall not apply

to documents or information that was, is, or becomes accessible to the public.

         13.   This Order binds the Parties and certain others to treat as Confidential any Discovery

Materials so classified. The Court has not, however, made any finding regarding the confidentiality

of any Discovery Materials, and retains full discretion to determine whether to afford confidential

treatment to any Discovery Material designated as Confidential hereunder.               Designation of a

document or other information as “Confidential-AEO Material” is not evidence and does not create a

presumption that the document, information, or tangible thing is in fact confidential. A Party’s

failure to object to another Party’s designation of any document or other information as

“Confidential-AEO Material” shall not create a presumption, or constitute evidence or an admission

that the designated document, tangible thing, or information is in fact confidential.

         14.   Any Party who objects to any designation of confidentiality may at any time before

the trial of this action serve upon counsel for the Producing Party a written notice stating with

particularity the grounds of the objection. If the Parties are unable to resolve the issue after meeting

and conferring, then the Party objecting to the designation may file a motion with the Court seeking

a change in the confidentiality designation.




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       15.     Recipients of Confidential Discovery Material under this Order may use such material

solely for the prosecution and defense of this action and any appeals thereto, and not for any other

purpose or in any other litigation proceeding. Nothing contained in this Order, however, will affect

or restrict the rights of any Party with respect to its own documents or information produced in this

action. Nothing contained in this Order shall be construed as preventing any attorney for any party

from seeking discovery of any documents marked as Confidential Discovery Material under this

Order from seeking such documents in connection with the prosecution or defense of any other

litigation or other legal proceedings.

       16.     Nothing in this Order will prevent any Party from producing any Confidential

Discovery Material in its possession in response to a lawful subpoena or other compulsory process,

or if required to produce by law or by any government agency having jurisdiction, provided that such

Party gives written notice to the Producing Party as soon as reasonably possible, and if permitted by

the time allowed under the request, at least 10 days before any disclosure. Upon receiving such

notice, the Producing Party will bear the burden to oppose compliance with the subpoena, other

compulsory process, or other legal notice if the Producing Party deems it appropriate to do so.

       17.     Each person who has access to Discovery Material designated as Confidential or

Confidential-AEO Material pursuant to this Order must take reasonable precautions to prevent the

unauthorized or inadvertent disclosure of such material. Within 60 days of the final disposition of

this action—including all appeals— all recipients of Confidential Discovery Material must either

return it, including all copies thereof, to the Producing Party, or, upon permission of the Producing

Party, destroy such material, including all copies thereof. In either event, if requested by the

Producing Party, by the 60-day deadline, the recipient must certify its return or destruction by

submitting a written certification to the Producing Party that affirms that it has not retained any copies,

abstracts, compilations, summaries, or other forms of reproducing or capturing any of the Confidential


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Discovery Material, except as provided herein. Notwithstanding this provision, the attorneys that the

Parties have specifically retained for this action may retain an archival copy of all pleadings, motion

papers, transcripts, expert reports, legal memoranda, correspondence, documents relied upon as

supporting any claim or defense, or attorney work product, even if such materials contain Confidential

Discovery Material. Any such archival copies that contain or constitute Confidential Discovery

Material remain subject to this Order. This Order will survive the termination of the litigation and

will continue to be binding upon all persons subject to this Order to whom Confidential Discovery

Material is produced or disclosed.

       18.     This Order will survive the termination of the litigation and will continue to be binding

upon all persons to whom Confidential Discovery Material is produced or disclosed.

       19.     This Court will retain jurisdiction over all persons subject to this Order to the extent

necessary to enforce any obligations arising hereunder or to impose sanctions for any contempt

thereof.

    SO ORDERED.




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SO STIPULATED AND AGREED.

This 30th day of October, 2020


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                                             EXHIBIT A

                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:19-CV-707-RJC-DCK

 SHAKINA SMITH, individually and on
 behalf of all others similarly situated,

                Plaintiff,

         v.

 JAX LLC d/b/a GOLDEN CORRAL,

                Defendant.


I,                                       , acknowledge that I have read and understand the Stipulated
Protective Order (the “Protective Order”) in this action governing the non-disclosure of those
documents and deposition testimony that have been designated as “Confidential.” I agree that I will
not disclose such information except as expressly permitted under this Protective Order, and at the
conclusion of all of the above-captioned litigations I will return all discovery information to the Party
or attorney from whom I received it. By acknowledging these obligations under the Protective
Order, I understand that I am submitting myself to the jurisdiction of the United States District Court
for the Western District of North Carolina for the purpose of any issue or dispute arising hereunder
and that my willful violation of any term of the Protective Order subjects me to punishment for
contempt of Court and such other and further relief as the Court may deem equitable, just and proper.


Date:
                                              Signature




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